                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA                          )
                                                   )
                                                   )
                                                   )       No. 3:07-CR-126
 V.                                                )       (PHILLIPS/SHIRLEY)
                                                   )
                                                   )
                                                   )
 YOLANDA MORALES-RIVERA                            )

                       ORDER OF DETENTION PENDING TRIAL

               This matter came before the Court on defendant’s arraignment on an

 Indictment on November 27, 2007. Tracee Plowell, Assistant United States Attorney, was

 present representing the government and Scott Green was present representing the defendant.

 The defendant was present. The Court stated that the defendant has related to the Court that

 she is an illegal alien and the Court also that the defendant had a detention hearing at her

 Rule 5 Hearing in the Northern District of Georgia and was detained by the Honorable Alan

 J. Baverman, United States Magistrate Judge. An Order of Detention Pending Trial was

 entered on October 22, 2007. Counsel for the defendant stated that the defendant has signed

 a Waiver of Detention Hearing. Therefore, Mr. Green stated that the defendant wished to

 waive her right to a detention hearing at this time but reserve the right to have a detention

 hearing at a later date, if appropriate. The defendant shall be detained. 18 U.S.C. §

 3142(f)(2).

               Both the defendant’s attorney and the government’s attorney agreed this

 situation constitutes good cause under 18 U.S.C. § 3142(f)(2), and the Court agrees.


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 Therefore this detention hearing is continued indefinitely. Until that time, the defendant will

 remain in detention. The defendant stated she understands that she will remain in detention.

               The defendant has been informed that a prompt hearing would be scheduled

 if she becomes eligible and requests a detention hearing. Accordingly, The defendant is

 committed to the custody of the Attorney General or his designated representative for

 confinement in a correction facility separate, to the extent practicable, from persons awaiting

 or serving sentences or being held in custody pending appeal. The defendant shall be

 afforded a reasonable opportunity for private consultations with defense counsel. On order

 of a court of the United States or on request of an attorney for the government, the person in

 charge of the corrections facility shall deliver the defendant to the United States Marshal for

 the purpose of an appearance in connection with a court proceeding.

                      IT IS SO ORDERED.

                                     ENTER:



                                              s/ C. Clifford Shirley, Jr.
                                            United States Magistrate Judge




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